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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         Case No. 18-cv-22923-GAYLES/OTAZO-REYES

   JELEN CARPIO
   as personal representative of the estate
   of DIOGENES CARPIO, JR.,

           Plaintiff,

   -vs-

   NCL (BAHAMAS) LTD.,
   D-I DAVIT INTERNATIONAL, INC.,
   HATECKE SERVICE USA, LLC, and
   D-I DAVIT INTERNATIONAL-
   HISCHE, GMBH.

   Defendants.
   ________________________________/

      D-I DAVIT INTERNATIONAL, INC.’S UNOPPOSED MOTION TO SEAL AND
                   INCORPORATED MEMORANDUM OF LAW
          Pursuant to Local Rule 5.4 of the United States District Court for the Southern District of

  Florida, D-I DAVIT INTERNATIONAL, INC. (“Davit US”) respectfully requests that this Court

  enter an Order sealing exhibits to its prior Motions to Dismiss, filed August 17, 2018 and

  September 11, 2018 (Dkt. Nos. 16-4 and 30-2), which contain confidential financial information,

  and in support thereof states the following:

                                    MEMORANDUM OF LAW

          “Unless otherwise provided by law, Court rule, or Court order, proceedings in the United

  States District Court are public and Court filings are matters of public record.” S.D. Fla. L.R.

  5.4(a). And, as a general matter, the press and the public jointly have a common-law right “to

  inspect and copy judicial records.” Nixon v. Warner Communications, Inc., 435 U.S. 589, 597

  (1978). However, the presumption of open access may be overcome by a showing of good cause.


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  Romero v. Drummond Co., 480 F.3d 1234, 1245 (11th Cir. 2007). A motion to seal must set forth

  “the factual and legal basis for departing from the policy that Court filings are public[.]” S.D. Fla.

  L.R. 5.4(b)(1). The motion must “describe[] the information or documents to be sealed (the

  ‘proposed sealed material’) with as much particularity as possible, but without attaching or

  revealing the content of the proposed sealed material.” Id.

         Here, good cause exists under Fed. R. Civ. P. 5.2. Fed. R. Civ. P. 5.2 provides for redacting

  filings to omit financial account information and tax identification information. In making its

  Motion to Dismiss, Davit US submitted the Declaration of Joachim Wiese, supported by tax

  records of Davit US (Dkt. 30-2), in order to demonstrate that Davit US had no active operations,

  was not within the subject product’s chain of distribution, and was not the proper party to this

  litigation. (Dkt. 30, p. 12). However, this filing did not redact necessary tax information from the

  exhibit.

         Subsequently, this action was remanded to the Circuit Court of the Eleventh Judicial

  Circuit in and for Miami-Dade County. (Dkt. 61). Recently, in briefing an appeal in this state

  court action, the Wiese Exhibit was used in support of argument by D-I DAVIT

  INTERNATIONAL-HISCHE GMBH, and the error discovered. Accordingly, and with apologies

  to the Court for the error and administrative inconvenience given this is a terminated matter, Davit

  US hereby respectfully requests that the Court enter an Order sealing Docket Entry No. 30-2

  permanently. In the alternative, if the Court is not willing to seal the Exhibit permanently, Davit

  US requests pursuant to Local Rule 7.1(a)(1)(I) that it be permitted to file a substitute exhibit with

  redactions.




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                             CERTIFICATION OF COMPLIANCE

         Pursuant to Local Rule 7.1(a)(3), undersigned counsel for Davit US certifies that attorneys

  for Davit US have conferred with counsel for Plaintiff JELEN CARPIO. The other defendants,

  NCL (BAHAMAS) LTD. and HATECKE SERVICE USA, LLC, have been dismissed from the

  action, and are not parties thereto. D-I DAVIT INTERNATIONAL-HISCHE GMBH has not

  appeared in this action. Plaintiff consents to the relief requested herein. A proposed Order is

  annexed hereto for the Court’s consideration.

                                          CONCLUSION

         WHEREFORE, Davit US respectfully requests that the Court enter an Order sealing the

  documents indexed at Docket Entry Number 16-4 and Docket Entry Number 30-2 permanently.

   Dated: April 28, 2020                              Respectfully submitted,

                                                      /s/ Anthony P. Strasius
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 28, 2020 I caused the foregoing document to be

  electronically filed with the Clerk of the Court using the CM/ECF system which will send

  notification of such filing to the following CM/ECF participants:



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